Case 19-11025-MFW Doc1 Filed 05/08/19 Page 1 of 20

Fill in this information to identify your case:

 

United States Bankruptcy Court for the:
DISTRICT OF DELAWARE

Case number (if known) Chapter 11

 

[_] Check if this an
amended filing

 

 

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 4/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor's name Triangle Petroleum Corporation

 

2. All other names debtor
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

 

3. Debtor's federal
Employer Identification XX-XXXXXXX
Number (EIN)

 

4. Debtor's address Principal place of business Mailing address, if different from principal place of
business

100 Fillmore St., 5"" Floor,
Denver, Colorado 80206
Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code

 

Location of principal assets, if different from principal
County place of business

 

 

Number, Street, City, State & ZIP Code

 

5. Debtor's website (URL) http:/jwww.trianglepetroleum.com/

 

6. Type of debtor DX] Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
CL] Partnership (excluding LLP)
CI Other. Specify:

 

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
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Debtor Triangle Petroleum Corporation Case number (if known)

 

 

Name

7. Describe debtor's business A. Check one:

Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Railroad (as defined in 11 U.S.C. § 101(44))

Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))
Clearing Bank (as defined in 11 U.S.C. § 781(3))

None of the above

MOOOOOO

B. Check ail that apply

LJ Tax-exempt entity (as described in 26 U.S.C. §501)

LC] Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
LC] Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
See http:/Awww.uscourts.gov/four-digit-national-association-naics-codes.

 

 

4861
8. Under which chapter of the Check one:
Bankruptcy Code is the
debtor filing? L] Chapter 7
CL] Chapter 9

XX] Chapter 11. Check all that apply:

LC] Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).

LC] The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
business debtor, attach the most recent balance sheet, statement of operations, cash-flow
statement, and federal income tax return or if all of these documents do not exist, foliow the
procedure in 11 U.S.C. § 1116(1)(B).

A plan is being filed with this petition.

x Xx

Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
(Official Form 201A) with this form.

LC] The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

O

L] Chapter 12

 

9. Were prior bankruptcy xX] No.
cases filed by or against
the debtor within the last 8 OC

years? Yes.

If more than 2 cases, attach a

separate list. District When Case number
District When Case number

 

10. Are any bankruptcy cases [| No
pending or being filed by a
business partner or an Yes.
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list Debtor See Attachment A to Voluntary Petition Relationship

 

District When Case number, if known

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
Case 19-11025-MFW Doc1 Filed 05/08/19 Page 3 of 20

Case number (if known)

 

 

Debtor Triangle Petroleum Corporation
Name
11. Why is the case filed in Check all that apply:

this district?

xX Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately

preceding the date of this petition or for a longer part of such 180 days than in any other district.

E] A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 

12.

Does the debtor own or —_[X] No
have possession of any

real property or personal L]
property that needs Yes.
immediate attention?

Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check ail that apply.)

E] It poses or is alleged to pose a threat of imminent and identifiable hazard to public heaith or safety.
What is the hazard?

 

E] It needs to be physically secured or protected from the weather.

E] It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

C] Other

 

Where is the property?

 

Number, Street, City, State & ZIP Code
Is the property insured?

[-] No
L]

Yes. Insurance agency

 

Contact name

 

Phone

 

 

|| Statistical and administrative information

 

13. Debtor's estimation of Check one:

available funds

X Funds will be available for distribution to unsecured creditors.

C] After any administrative expenses are paid, no funds will be available to unsecured creditors.

 

14. Estimated number of [x] 1-49
creditors C] 50-99

L] 100-199

[_] 200-999

[_] 1,000-5,000
[_] 5001-10,000
[_] 10,001-25,000

[_] 25,001-50,000
[_] 50,001-100,000
_] More than100,000

 

15. Estimated Assets _] $0 - $50,000
[] $50,001 - $100,000
[] $100,001 - $500,000

[] $500,001 - $1 million

[_] $1,000,001 - $10 million
[_] $10,000,001 - $50 million
DX] $50,000,001 - $100 miltion
_] $100,000,001 - $500 million

[_] $500,000,001 - $1 billion

[_] $1,000,000,001 - $10 billion
[] $10,000,000,001 - $50 billion
[_] More than $50 billion

 

16. Estimated liabilities [_] $0 - $50,000
[] $50,001 - $100,000
_] $100,001 - $500,000

[_] $500,001 - $1 million

[] $1,000,001 - $10 million
[_] $10,000,001 - $50 million
[_] $50,000,001 - $100 million
DX] $100,000,001 - $500 million

[_] $500,000,001 - $1 billion

[_] $1,000,000,001 - $10 billion
[_] $10,000,000,001 ~ $50 billion
[_] More than $50 billion

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 3
Debtor
Name

Case 19-11025-MFW Doc1 Filed 05/08/19 Page 4 of 20

Triangle Petroleum Corporation

. | | Request for Relief, Declaration, and Signatures

Case number (if known)

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $600,000 or

imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature

of authorized
representative of debtor

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is trued and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on ? Sf 0 6/ z O/ q

MM /DD/YYYY

x Rear of ob AE —— of debtor

Title

 

Chief Executive Officer

Ryan D. McGee
Printed name

 

18. Signature of attorney

Official Form 201

a

Signature/6f attorney fof of attorne deofor or

estos carne L, Magaziner
Printed name

Young Conaway Stargatt & Taylor, LLP

Firm name

Rodney Square

1000 N. King Street

Wilmington, Delaware 19801
Number, Street, City, State & ZIP Code

Email address

Contactphone (302) 571-6600

5426 (DE)
Bar number and State

Voluntary Petition for Non-Individuals Filing for Bankruptcy

Date OS/ OS 20\4

MM/DD/YYYY =!

AMagaziner@ycst.com

page 4

 
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ATTACHMENT A TO VOLUNTARY PETITION

As of the date hereof, each of the below-listed affiliates of the Debtor is a debtor and
debtor in possession in a voluntary chapter 11 case pending before the United States
Bankruptcy Court for the District of Delaware (collectively, the “Affiliate Cases”). The
Debtor will not be requesting to have its chapter 11 case jointly administered with the
Affiliate Cases.

 

 

 

 

 

 

 

 

Debtor Case Number Filing Relationship to
Date Debtor
Ranger Fabrication, LLC (MEW). 6/30/2016 Subsidiary
Neldwes LLC Management (MEW) 6/30/2016 Subsidiary
Ranger Fabrication Management, 1 ME W) 6/30/2016 Subsidiary

 

 

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TRIANGLE PETROLEUM CORPORATION
UNANIMOUS WRITTEN CONSENT OF DIRECTORS
IN LIEU OF A SPECIAL MEETING

May 8, 2019

The undersigned, being all of the members of the Board of Directors (the “Board”) of
Triangle Petroleum Corporation, a Delaware corporation (the “Company”), acting pursuant to
Section 141(f) of the General Corporation Law of the State of Delaware and Article IT,
Section 8 of the Company’s Bylaws, hereby adopt, by this written consent, the following
resolutions with the same force and effect as if they had been unanimously adopted at a duly
convened meeting of the Board and direct that this written consent be filed with the minutes of
the proceedings of the Board:

WHEREAS, it has been proposed that the Company effect a restructuring by seeking
relief under the provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”); and

WHEREAS, the Board has received, reviewed, and considered the recommendations
of the senior management of the Company and the Company’s legal and other advisors as to the
relative risks and benefits of pursuing a bankruptcy proceeding under the provisions of the
Bankruptcy Code; and

WHEREAS, on May 7, 2019, the Company solicited, and has received, votes
sufficient to satisfy the requirements of Section 1126(c) of the Bankruptcy Code in favor of the
Chapter 11 Plan of Reorganization of Triangle Petroleum Corporation, dated May 7, 2019 (as
may be amended, restated, supplemented, or otherwise modified from time to time, the “Plan’’);

NOW, THEREFORE, BE IT RESOLVED, based on factors and information
deemed relevant to the Board, in the judgment of the Board, it is desirable and in the best
interests of the Company, its creditors, and other interested parties that a petition (the “Petition’’)
be filed pursuant to chapter 11 of the Bankruptcy Code on behalf of the Company; and it is

FURTHER RESOLVED, that the filing of the Petition on behalf of the Company
be, and the same hereby is, approved and adopted in all respects and that Ryan D. McGee, the
Company’s Chief Executive Officer, and any other officer of the Company (each, a “Designated
Person” and collectively, the “Designated Persons”), be, and each hereby is, authorized and
empowered, in the name and on behalf of the Company, to execute, acknowledge, deliver, and
verify the Petition and to cause the same to be filed with the United States Bankruptcy Court for
the District of Delaware at such time as such Designated Person may determine; and it is

FURTHER RESOLVED, that the Designated Persons be, and each of them
individually hereby is, authorized to (a) execute and file the Petition, the Company’s schedule of
assets and liabilities, statement of financial affairs, lists, and other papers to take any and all
related actions that such Designated Persons may deem necessary or proper in connection with
such chapter 11 case; (b) execute, acknowledge, deliver, and verify any and all documents
necessary or proper in connection with the Petition and the Plan and to administer the
Company’s chapter 11 case in such form or forms as such Designated Person may deem
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necessary or proper and to effectuate the foregoing resolutions; and (c) engage any professionals,
including attorneys, accountants, financial advisors, investment bankers, actuaries, consultants,
brokers or other experts as such Designated Person deems necessary or proper to accomplish the
purposes of the resolutions; and it is

FURTHER RESOLVED, that the Designated Persons be, and each of them
individually hereby is, authorized, empowered, and directed, in the name and on behalf of the
Company, with full power of delegation, to employ the law firm of Paul, Weiss, Rifkind,
Wharton & Garrison LLP as bankruptcy counsel to represent and assist the Company in carrying
out its duties under the Bankruptcy Code, and to take any and all actions to advance the
Company’s rights and obligations, including filing any pleadings, and in connection therewith,
each of the Designated Persons is hereby authorized, empowered, and directed, in the name and
on behalf of the Company, with full power of delegation, to execute appropriate retention
agreements, pay appropriate retainers, and cause to be filed an appropriate application for
authority to retain the services of Paul, Weiss, Rifkind, Wharton & Garrison LLP; and it is

FURTHER RESOLVED, that the Designated Persons be, and each of them
individually hereby is, authorized, empowered, and directed, in the name and on behalf of the
Company, with full power of delegation, to employ the law firm of Young Conaway Stargatt &
Taylor, LLP as bankruptcy co-counsel to represent and assist the Company in carrying out its
duties under the Bankruptcy Code, and to take any and all actions to advance the Company’s
rights and obligations, including filing any pleadings, and in connection therewith, each of the
Designated Persons is hereby authorized, empowered, and directed, in the name and on behalf of
the Company, with full power of delegation, to execute appropriate retention agreements, pay
appropriate retainers, and cause to be filed an appropriate application for authority to retain the
services of Young Conaway Stargatt & Taylor, LLP; and it is

FURTHER RESOLVED, that the Designated Persons be, and each of them
individually hereby is, authorized, empowered, and directed, in the name and on behalf of the
Company, with full power of delegation, to employ Epiq Corporate Restructuring, LLC as
claims, noticing, and solicitation agent to represent and assist the Company in carrying out its
duties under the Bankruptcy Code, and to take any and all actions to advance the Company’s
rights and obligations, and in connection therewith, each of the Designated Persons is hereby
authorized, empowered, and directed, in the name and on behalf of the Company, with full
power of delegation, to execute appropriate retention agreements, pay appropriate retainers, and
cause to be filed an appropriate application for authority to retain the services of Epiq Corporate
Restructuring, LLC; and it is

FURTHER RESOLVED, that in connection with the commencement of the chapter
11 case by the Company, the Designated Persons be, and each of them individually hereby is,
authorized, directed, and empowered, in the name and on behalf of the Company, as debtor and
debtor in possession, to negotiate, execute, and deliver agreements for the use of cash collateral
in connection with the Company’s chapter 11 case, which agreement(s) may require the
Company to acknowledge the debt and liens of existing loans, grant liens, and pay interest to the
Company’s existing lender(s); and in connection therewith, any Designated Person is hereby
authorized and directed to execute and deliver, in the name and on behalf of the Company,
appropriate agreements and related ancillary documents; and it is
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FURTHER RESOLVED, that in connection with the commencement of the chapter
11 case by the Company, the Designated Persons be, and each of them individually hereby is,
authorized, directed, and empowered, in the name and on behalf of the Company, as debtor and
debtor in possession, to negotiate, execute, and obtain post-petition financing, including under
debtor-in-possession credit facilities; and to enter into any guarantees and to pledge and grant
liens on its assets as may be contemplated by or required under the terms of such post-petition
financing; and in connection therewith, any Designated Person is hereby authorized and directed
to execute and deliver, in the name and on behalf of the Company, appropriate loan agreements
and related ancillary documents; and it is

FURTHER RESOLVED, that the Designated Persons be, and each of them
individually hereby is, authorized, directed, and empowered, in the name and on behalf of the
Company, as debtor and debtor in possession, to negotiate, execute, deliver, and perform all
such actions and to execute, acknowledge, deliver, and verify, in the name and on behalf of the
Company, such agreements, certificates, instruments, guaranties, notices, and any and all other
documents as such Designated Person may deem necessary or proper to facilitate the transactions
contemplated by these resolutions; and it is

FURTHER RESOLVED, that all acts lawfully done or actions lawfully taken prior
to the date hereof by any Designated Person or any professionals engaged by the Company with
respect to any transactions contemplated by the foregoing resolutions, or otherwise in
preparation for or in connection with the Company’s chapter 11 case or any proceedings related
thereto, or any matter related thereto, be and hereby are, adopted, approved, ratified, and
confirmed in all respects as the acts and deeds of the Company as if such acts and deeds took
place after the date of these resolutions.

[Signature Page Follows|
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IN WITNESS WHEREOF, this Unanimous Written Consent of Directors in Lieu of a
Special Meeting of Triangle Petroleum Corporation is made as of the date first above written.

BOARD OF DIRECTORS:

Le

Gus Halas

“James Shein

 

Randal Matkaluk

Triangle Petroleum — Signature Page to Board Consent (authorizing filing)
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IN WITNESS WHIEREOF, this Unanimous Written Consent of Directors in Lieu of a
Special Meeting of Triangle Petroleum Corporation is made as of the date first above written.

BOARD OF DIRECTORS:

 

Gus Halas

 

James Shein

keioP™BP yr Ps o Lh s
Nyt yy
Randal Matkaluk

 

Triangle Petroleum — Signature Page to Board Consent (authorising filing)

 
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Debtor Name: Triangle Petroleum Corporation

United States Bankruptcy Court for the District of Delaware

Case Number (if known):

 

 

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest

Unsecured Claims and Are Not Insiders 12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. §
101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral
value places the creditor among the hoiders of the 30 largest unsecured claims.

 

 

 

 

 

 

 

 

Name of creditor and complete _|' Name, telephone number, and | Nature of the | Indicate if. | | Amount of unsecured claim —
mailing address, including zip. —_| email address of creditor claim (for | claim is. mo ee
code ee contact oe : example, contingent, lf the claim is fully secured, fill in only
trade debts, | unliquidated, | unsecured claim amount. Ifclaim is
bank loans, ordisputed | partially secured; fill in total claim
professional | = ~——_| amount and deduction for value of
services, and collateral or setoff to calculate
government | unsecured:claim.
| contracts) ae ‘| Total. | Deduction | Unsecured
: “claim, if |} forvalue. | claim
partially [| of :
secured | collateral
: Se >| of setoff &
41 | Nine Point Energy Nine Point Energy Professional Disputed $303,509.17
1200 17th St. Phone: 720.697.2111 Services
Ste. 2600 Email: info@ninepointenergy.com
Denver, CO 80202
2 | KPMG KPMG Professional $276,650.00
1001 17th St. Email: rdennis@kpmg.com Services
Suite 200
Denver, CO 80202
3 | Friedman Kaplan Seiler & Friedman Kaplan Seiler & Professional Disputed $29,648.61
Adeiman LLP Adelman LLP Services
7 Times Square Phone: 212.833.1100
New York, NY 10036 Email: fdaubert@fklaw.com
4 | Plante Moran Plante Moran Professional Contingent $16,750.00
1445 Market Street Email: Services
Suite 300 Leslie. Miranda@plantemoran.com
Denver, CO 80202 Fax: 303.740.9009
5 | Comcast Business Comcast Business Trade Debt $8,477.92
9601 E Panorama Cir. Phone: 1.800.262.7300
Englewood, CO 80112 Email:
business_referral_info@cable.com
cast.com

 

 

 

 

 

 

 

 

 

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Name of creditor and complete —_ | Name, telephone number, and _| Nature of the | Indicate if. Amount of unsecured claim.
mailing address, including zip. | emall.address of creditor “{-¢laim (for claimis oe Ea se
code | contact | example, _| contingent, _| if the claim is fully secured, fill in only

cay trade debts, | unliquidated, | unsecured claim amount. If claim is
| bank loans, or disputed partially secured, fill in total claim
_ professional oe amount and deduction for value of _
-services, and collateral or setoff to calculate
government unsecured claim.
contracts). Total | Deduction | Unsecured
aoe “Claim, if.) for value... | claim
partially | of. cS
secured | collateral.
of setoff
6 | Verizon Verizon Trade Debt $3,734.64
Attn: Verizon Wireless Fax: 212.517.1897
Bankruptcy
500 Technology Drive
Suite 550
Weldon Spring, MO 63304
7 | Marlin Business Bank Marlin Business Bank Trade Debt $2,104.50
2795 E. Cottonwood Pkwy. Phone: 1.888.478.1610
#120 Email:
Salt Lake City, UT 84121 cvg@marlincapitalsolutions.com
8 | lron Mountain Iron Mountain Trade Debt $1,909.47
Attn: fron Mountain Data Email:
Centers, LLC DataCenterBilling@ironmountain.
4300 Brighton Blvd. com
Denver, CO 80202
9 | Onesource Water Onesource Water Trade Debt $1,487.72
4750 South Santa Fe Circle Phone: 1.866.917.7873
Englewood, CO 80110 Email:
exportsales@waterlogic.com
10 | Lexis Nexis Lexis Nexis Trade Debt $1,436.58
555 Middlecreek Parkway Phone:719.488.3000
Colorado Springs, CO 80921 | Fax: 800.437.8674
11 | Key-Rite Security Key-Rite Security Trade Debt $1,169.82
5570 E Yale Avenue Phone: 303.759.5013
Denver, CO 80222 Email: info@key-rite.com
{2 | Haynes Mechanical Systems Haynes Mechanical Systems Trade Debt $1,044.28
5700 S Quebec Street Phone: 303.779.0787
Suite 210 Email:
Greenwood Village, CO 80111 | info@haynesmechanical.com
13 | Western Wealth Benefits Western Wealth Benefits Professional $708.33
6000 Greenwood Plaza Blvd. | Fax: 303.243.5709 Services
Suite 100
Greenwood Village, CO 80111
14 | Mood Media (Muzak) Mood Media (Muzak) Trade Debt $211.76
2228 1st Ave. Phone: 1.800.345.5000
Suite 230 Email: ARinfo@moodmedia.com
Seattle, WA 98121

 

 

 

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Name of creditor and complete Name, telephone number, and _| Nature of the | Indicate if Amount of unsecured claim
mailing address, including zip email address of creditor claim (for |. claim is. Pe “
code oe - peontact example, contingent, | if the claimis fully secured, fill in only :
oS Oe trade debts, | unliquidated, | unsecured claim amount. If claimis.
bank loans, | or disputed | partially secured, fill in total claim _
professional “. | amount and deduction for value of —
services, and collateral or setoff to calculate
government -|-unsecured claim.
contracts) Total Deduction |. Unsecured
claim, if | for value claim
partially of. :
secured. | collateral
. = : of setoff: ae
15 | Moss Adams Moss Adams Professional Unliquidated Unliquidated
1999 Broadway #4000 Phone: 303.298.9600 Services
Denver, CO 80202 Email:
Brian.Parmelee@mossadams.com
16 | Transamerica Transamerica Trade Debt Unliquidated Unliquidated
230 W Monroe St. Phone: 1.866.498.4557
Suite 1150 Email:
Chicago, IL 60606 tii. customerservice@transamerica.
com
17 | Regus Regus Trade Debt Unliquidated Unliquidated
Fillmore Place Email:
400 Fillmore Street Colorado.CherryCreek@regus.com
5th Floor Fax: 303.385.8401
Denver, CO 80206
18 | J.P. Morgan Securities LLC J.P. Morgan Securities LLC Bank Loan Contingent, Unliquidated
Attn: Lawrence J. Kotler, Esq. | Email: \jkotler@duanemorris.com Unliquidated
30 South 17th Street Fax: 215.979.1020
Philadelphia, PA 19103
19 | Dominic Spencer Dominic Spencer Professional Unliquidated, Unliquidated
918 Arbutus Ct. Email: Services Disputed
Golden, CO 80401 dominic.spencer@yahoo.com
20 | XO Communications XO Communications Trade Debt Unliquidated Unliquidated
8851 Sandy Pkwy. Email: chloe.j. webb@verizon.com
Sandy, UT 84070
21 | Continental Stock Transfer & Continental Stock Transfer & Trust | Trade Debt Unliquidated Unliquidated
Trust Email:
1 State Street mvelez@continentalstock.com
30th Floor
New York, NY 10004
22 | Unlimited Conferencing Unlimited Conferencing Trade Debt Unliquidated Unliquidated

591 Redwood Highway #5275
Mill Valley, CA 94941

 

 

 

Email:
billing@unlimitedconferencing.com

 

 

 

 

 

 

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Debtor Name: Triangle Petroleum Corporation
United States Bankruptcy Court for the District of Delaware

Case Number (if known):

 

 

 

Official Form 202 _
Declaration Under Penalty of Perjury for Non-Individual Debtors 1215

 

An individual! who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the
identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime, Making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
1341, 1519, and 3571.

P| Declaration and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
or another individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

[] Schedule 4/8: Assets—Real and Personal Property (Official Form 206A/B)

(1 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

1 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

C) Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

Cl Schedule H: Codebtors (Official Form 206H)

C) summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

C] Amended Schedule

EX Chapter 71 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

(J Other document that requires a declaration

| declare under penalty of perjury that the foregoing is true and correct.

Executed on OS/ O 6/ Lo/ 7

 

MM /DD/YYYY
<a
x R ft SY Ryan D. McGee
Signature of 4uthorized representative of debtor Printed name

Title Chief Executive Officer

 

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re:
Chapter 11
TRIANGLE PETROLEUM CORPORATION,
Case No. 19- (__)
Debtor. |

 

 

STATEMENT OF CORPORATE OWNERSHIP PURSUANT TO RULES 1007(a)
AND 7007.1 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

I, Ryan D. McGee, declare under penalty of perjury under the laws of the United States
of America, to the best of my knowledge, information and belief, as follows:
I am the Chief Executive Officer of Triangle Petroleum Corporation (the “Debtor”). The

following entities directly own more than 10% of the equity interests of the Debtor:

 
   

 

 

Cede & Co. 85.13%

 

 

 

 

ActOil Bakken, LLC 14.64%

 

 

' The last four digits of the Debtor’s taxpayer identification number are 0762. The Debtor’s mailing address

is 100 Fillmore Street, 5th Floor, Denver, Colorado 80206.

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Debtor Name: Triangle Petroleum Corporation
United States Bankruptcy Court for the District of Delaware

Case Number (if known):

 

 

 

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 1215

 

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the
identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
1341, 1519, and 3571.

po Declaration and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
or another individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and ij have a reasonable belief that the information is true and correct:

[1 Schedule A/B: Assets~Real and Personal Property (Official Form 206A/B)

(1 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
[ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

C Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

[Schedule H: Codebtors (Official Form 206H)

r

¢
CJ Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

LJ Amended Schedule

(1 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

,

—d Other document that requires a declaration : Statement of Corporate Ownership

| declare under penalty of perjury that the foregoing is true and correct.

Executed on OS O 6%. Zz Of q

 

 

 

MM/DD/YYYY .
x Lv} kh SEL Ryan D. McGee
Signatiire of authorized representative of debtor Printed name

Title Chief Executive Officer

 

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re:
Chapter 11

TRIANGLE PETROLEUM CORPORATION,
Case No. 19- (__)

Debtor. !

 

 

VERIFIED LIST OF EQUITY SECURITY HOLDERS OF TRIANGLE
PETROLEUM CORPORATION, SUBMITTED IN ACCORDANCE
WITH RULE 1007(a)(3) OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

I, Ryan D. McGee, the Chief Executive Officer of Triangle Petroleum Corporation
(the “Debtor’’), hereby certify under penalty of perjury under the laws of the United States of
America that, to the best of my knowledge, information, and belief, the attached list constitutes a

complete and correct list of the equity security holders of the Debtor, as of May 5, 2019.

 

' The last four digits of the Debtor’s taxpayer identification number are 0762. The Debtor’s mailing address
is 100 Fillmore Street, 5th Floor, Denver, Colorado 80206.

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Triangle Petroleum Corporation

Shareholder List as of May 5, 2019

 

TS72NEW

Mary F. Stephens
o/b/o Ellen C. Stephens Trust

Stephens Trust ~
345 Yerba Buena Ave.
San Francisco CA 94127

1,000

 

TS72NEW

Actoil Bakken LLC

730 3rd Ave,
New York, NY 10017-3026

11,200,000

 

TS72NEW

J. Howard Anderson

329 38 Ave. SW
Calgary, AB T2S 0V7
Canada

3,240

 

TS72NEW

Kathleen T. Buse

1142 E. Grove St.
West Point, NE 68788

300

 

TS72NEW

Cede & Co.

P.O. Box 20
Bowling Green Station
New York, NY 10274

65,132,144

 

TS72NEW

Luke Ditomas

19548 W. 60th Ln.
Golden, CO 80403-2216

4,000

 

TS72NEW

Rebecca Fuller

925 N. Lincoln St.
Apt. 8E
Denver, CO 80203-2767

667

 

TS72NEW

Peter Hill

1150 Dimock Ln.
Naples, FL 34110-0919

60,000

 

TS72NEW

Cleveland B. Holloway Jr.

1309 Overland Dr.
Rock Springs, WY 82901-
4567

200

 

TS572NEW

Dan Jarvie — Worldwide Geochemistry

218 Higgins St.
Humble, TX 77338-4534

10,000

 

TS72NEW

Gregory L. Jimenez

3829 Pacheco Blvd.,
Apt. 18,
Martinez, CA 94553-2158

22

 

TS72NEW

Jim Levy

354 Wild Willow Dr.
El Paso, TX 79922-1841

71

 

TS72NEW

Ron Linn

1021 Osceola Ave.
Correctionville, [A 51016-
8166

300

 

TS72NEW

Randal Matkaluk

1660 Wynkoop St.,
Suite 900
Denver, CO 80202-1154

45,000

 

TS72NEW

Ryan Dalton McGee

379 Dahlia St.
Denver, CO 80220-5713

22,276

 

TS72NEW

 

 

Eric J. Ormson & Katherine Troemel
Ormson

 

Ormson Family Trust
14175 W. Braemore Close
Libertyville, IL 60048-4621

 

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1660 Wynkoop St.,
TS572NEW | F. Gardner Parker Suite 900 25,000
Denver, CO 80202-1154
345 Classon Ave., Apt. 9F

 

 

 

T572NEW | Jamel J. Shuler Brooklyn, NY 11205-4307 10
The Depository Trust Co.
T572NEW | Utah & Co. 570 Washington Blvd., Fl. 5 100

Jersey City, NJ 07310-1617
P.O. Box 730, Sth. A

TS572NEW | Marshall Wolf Toronto, ON M5W 1G2 1
Canada

 

 

 

 

 

 

 

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[1 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
C1 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

Cl Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

1 schedule H: Codebtors (Official Form 206H)

(1 summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

[I Amended Schedule

(1 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not insiders (Official Form 204)

¢

EX Other document that requires a declaration : Verified List of Equity Security Holders

| declare under penaity of perjury that the foregoing is true and correct.

Executed on OSS O CY 2 O/ q

 

 

 

MM /DD/YYYY
x Recta A LE Le Ryan D. McGee
Signature of authorized representative of debtor Printed name

Title Chief Executive Officer

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